Case 2:04-cr-20112-.]P|\/| Document 251 Filed 06/06/05 Page 1 of 5 Page|D 367

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-v- 2:04cR20112-04-Ml W-D- OF 'm, assess

UN|TED STATES OF AMER|CA

JASON L. TYUS
Stephen Sauer, CJA
Defense Attorney
200 Jefferson Avenue, #1500
Memphis, TN 38103

 

JUDGMENT lN A CR|M|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 11 of the indictment on l\/larch 3, 2005. Accordingly,
the court has adjudicated that the defendant is guilty of the following offense(s):

Date Count
Title & Section NM Offense Number|s)
Conc|uded
18 U.S.C. § 513(a) Possession and Uttering Counterfeit 11/23!2001 11

Securities

The defendant is sentenced as provided in the following pages of this judgment The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the lVlandatory
Victims Restitution Act of 1996.

Counts 1 and 13 dismissed on the motion of the United States.
|T lS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district

within 30 days of any change of namel residence, or mailing address until a|| fines, restitution, costs
and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date of Birth: 09/29/1983 June 3, 2005
Deft’s U.S. Marsha| No.: 20035-076

Defendant’s lV|ai|ing Address:
178 East Peebles Street

Memphis, TN 38109 M»\Q M g OM

N PH|PPS McCALLA

N|TED ATES D|STR CT JUDGE
June ,2005

line -_.a.z;;'_;inent entered on the docket sheet in compliance d
Wiiii sale 35 and/or az(b) Fnch on §§ slt/2135 J`zj/

 

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Case No: 2:04CR20112-04-N|| Defendant Name: Jason L. TYUS Page 2 of4
lMPR|SONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 3 Months.

The defendant is remanded to the custody of the United States N|arsha|.

RETU RN

| have executed this judgment as follows:

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgment
UN|TED STATES |VIARSHAL
By:

 

Deputy U.S. lVlarshal

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Case No: 2:04CR20112-04-ivi| Defendant Name: Jason L. TYUS Page 3 of 4

SUPERVISED RELEASE

Upon release from imprisonment1 the defendant shall be on supervised release for
a term of 2 Years.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

While on supervised release, the defendant shall not commit another federal, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance. The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|S|ON

1. The defendant shall not leave thejudicial district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment;
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally sold, used,
distributed, or administered;

8. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a

Case 2:O4-cr-20112-.]Pl\/l Document 251 Filed 06/06/05 Page 4 of 5 PagelD 370

Case No: 2:04CR20112-04-ivii Defendant Name: Jason L. TYUS Page 4 of 4
law enforcement officer;

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendant's criminal record or personal history or characteristicsl and shall permit
the probation officer to make such notifications and to confirm the defendant’s compliance with such
notification requirement

13. if this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release

that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
forth in the Crimina| N|onetary Penalties sheet of thisjudgment.

ADD|T|ONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
reiease:

1. The defendant shall serve 5 months in a half-way house in which he can receive drug and
alcohol testing and treatment programs

2. The defendant shall submit to drug and alcohol testing and treatment programs as directed
by the Probation Oche.

3. The defendant shall seek and maintain full-time employment

4. The defendant shall cooperate with DNA collection as directed by the Probation Office.

CR|M|NAL MONETARY PENALTiES

The defendant shall pay the following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Scheduie of Payments The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth clay after the date of judgment, pursuant to 18 U.S.C. §
3612(f). Ali of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Totai Assessment Totai Fine Totai Restitution

$100.00

The Specia| Assessment shall be due immediately

F|NE
No fine imposed.

REST|TUT|ON
No Restitution was ordered.

UNITED `SATES DISTRIC COURT - WESTERN DSRTCT oFTENNESSEE

    

Notice of Distribution

This notice confirms a copy of the document docketed as number 251 in
case 2:04-CR-20112 Was distributed by faX, mail, or direct printing on
June 15, 2005 to the parties listed.

 

 

Stephen A. Sauer

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8 S. Third St.

4th Floor

Memphis7 TN 38103

Timothy R. DiScenZa

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorabie .1 on McCaila
US DISTRICT COURT

